                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR 11-0143
 vs.                                  ORDER REGARDING
                                 MAGISTRATE’S REPORT AND
 TERRANCE DYNELL ARMSTEAD,            RECOMMENDATION
                                  CONCERNING DEFENDANT’S
         Defendant.                      GUILTY PLEA
                    ____________________


                      I. INTRODUCTION AND BACKGROUND
       On January 11, 2012, a four-count Second Superseding Indictment was returned
against the defendant Terrance Dynell Armstead. On March 7, 2012, the defendant
appeared before United States Magistrate Judge Jon S. Scoles and entered a plea of guilty
to Count 1 of the Second Superseding Indictment. On March 7, 2012, Judge Scoles filed
a Report and Recommendation in which he recommended that defendant’s guilty plea be
accepted. No objections to Judge Scoles' Report and Recommendation were filed. The
court, therefore, undertakes the necessary review of Judge Scoles' recommendation to
accept defendant’s plea in this case.


                                        II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the

   Case 1:11-cr-00143-CJW-MAR            Document 315    Filed 03/23/12    Page 1 of 2
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of March 7, 2012,
and accepts defendant’s plea of guilty in this case to Count 1 of the Second Superseding
Indictment.
       IT IS SO ORDERED.
       DATED this 23nd day of March, 2012




   Case 1:11-cr-00143-CJW-MAR          Document 315       Filed 03/23/12    Page 2 of 2
